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   8 FOODS MARKET SERVICES, INC.;
     WHOLE FOODS MARKET CALIFORNIA,
   9
     INC.; and MRS. GOOCH’S NATURAL FOOD
  10 MARKETS, INC.

  11                            UNITED STATES DISTRICT COURT
  12                       CENTRAL DISTRICT OF CALIFORNIA
  13 SARA SAFARI, PEYMON                          Case No. 8:22-cv-01562-JWH (KESx)
     KHAGHANI, on behalf of themselves
  14 and all others similarly situated, and       DEFENDANTS’ SUPPLEMENTAL
     FARM FORWARD, on behalf of the               BRIEF IN SUPPORT OF ITS
  15 general public,                              MOTION TO DISMISS
                                                  PLAINTIFFS’ FIRST AMENDED
  16              Plaintiffs,                     COMPLAINT
  17        v.                                    Date:     April 7, 2023
                                                  Time:     9:00 AM
  18 WHOLE FOODS MARKET                           Place:    411 West Fourth Street
       SERVICES, INC., a Delaware                           Courtroom 9D, 9th Floor
  19 corporation, WHOLE FOODS                               Santa Ana, California 92701
       MARKET CALIFORNIA, INC., a
  20 California corporation, MRS.                 The Honorable John W. Holcomb
     GOOCH’S NATURAL FOOD
  21 MARKETS, INC., doing business as             Complaint Filed: August 23, 2022
     Whole Foods Market, a California             Trial Date:      Not Set
  22 Corporation,

  23              Defendants.
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   1                                I.    INTRODUCTION
   2        Pending before this Court is Defendants’ Motion to Dismiss Plaintiff’s FAC.1
   3 This Court requested supplemental briefing on two questions concerning Article III

   4 standing as defined by the Supreme Court in TransUnion LLC v. Ramirez, 141 S.Ct.

   5 2190 (2021). First, the Court asked the parties to address “[a]s discussed in

   6 TransUnion, how [] Plaintiffs’ instant action fit[s] within the ‘types of cases’ that

   7 ‘history and tradition’ show ‘Article III empowers federal courts to consider.’”

   8 Simply stated: It does not.

   9        The Individual Plaintiffs allege two types of harm in this action arising from
  10 Defendants’ purported misrepresentation that antibiotics are not used in raising the

  11 cattle that provide the beef products sold at Whole Foods Market stores. First, the

  12 Individual Plaintiffs claim they suffer from a fear of purchasing from a supply chain

  13 that uses antibiotics to raise cattle. As TransUnion makes clear the Individual

  14 Plaintiffs’ claim of a risk of future injury because they may potentially purchase

  15 beef from cattle raised with antibiotics has no historical or common-law equivalent

  16 and is too speculative to support Article III standing. Second, the Individual

  17 Plaintiffs allege they overpaid for an unidentified beef product. While overpayment

  18 for a particular product can qualify as a concrete monetary loss, here, the Individual

  19 Plaintiffs fail to plead sufficient facts from which the Court might plausibly infer

  20 that either of them suffered or might have suffered such monetary harm. With

  21 respect to the organizational plaintiff Farm Forward, its purported diversion of

  22 resources also is not a concrete harm traditionally recognized as providing a basis

  23 for Article III standing.

  24        Second, the Court asked the parties to analyze “the constitutional viability of
  25 organizational standing following the Supreme Court’s decision in TransUnion.”

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  27   1
      This response uses the same shorthand references defined in Defendants’ moving
  28 papers.
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   1 The doctrine of “organizational standing” rests on a “resource drain” theory of

   2 injury established in 1982 by the Supreme Court in Havens Realty Corp. v.

   3 Coleman, 455 U.S. 363, 102 S.Ct. 114 (1982). Neither frustration of an

   4 organizational mission nor diversion of resources, the two elements of a resource

   5 drain theory of injury, are harms traditionally recognized as providing a basis for

   6 lawsuits in federal courts. Accordingly, the “organizational standing” doctrine runs

   7 afoul of TransUnion’s limit of Article III standing to concrete injuries that have a

   8 traditional or common law analogue.

   9                                  II.    ARGUMENT
  10 A.      Legal Standard: TransUnion
  11         In TransUnion, the Supreme Court confirmed that Article III standing
  12 requires claimants show that they suffered an injury in fact that is concrete,

  13 particularized, and actual or imminent. TransUnion, 141 S.Ct. at 2203. The Court

  14 provided additional guidance to lower courts in their assessment of whether a

  15 plaintiff’s alleged harm is adequately “concrete” to confer Article III standing. It

  16 instructed lower courts to assess “whether the asserted harm has a ‘close

  17 relationship’ to a harm traditionally recognized as providing a basis for a lawsuit in

  18 American courts” and “ask[] whether plaintiffs have identified a close historical or

  19 common-law analogue for their asserted injury.” Id. at 2200, 2204 (citing Spokeo

  20 Inc. v. Robins, 578 U.S. 330, 340-341, 136 S.Ct. 1540 (2016)). The Court did not

  21 require an “exact duplicate” of a traditionally recognized harm, but it cautioned

  22 federal courts against “loosen[ing] Article III based on contemporary, evolving

  23 beliefs about what kinds of suits should be heard in federal courts.” Id. at 2204,

  24 2209.

  25         The Court further explained that traditional tangible harms, such as physical
  26 and monetary harms, “readily qualify as concrete injuries under Article III.”

  27 TransUnion, 141 S.Ct. at 2204. Intangible injuries traditionally recognized as

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   1 providing a basis for lawsuits in American courts, such as “reputational harms,

   2 disclosure of private information, and intrusions upon seclusion” also qualify as

   3 concrete. Id. (citations omitted). Finally, traditional harms that qualify as concrete

   4 may include harms specified by the Constitution, such as abridgment of free speech

   5 and infringement of free exercise. Id. (citations omitted.)

   6         The Court also explained that, although the view of Congress may be
   7 instructive in the sense that it may “elevate to the status of legally cognizable

   8 injuries concrete, de facto injuries that were previously inadequate in law,”

   9 Congress may not “simply enact an injury into existence, using its lawmaking power

  10 to transform something that is not necessarily harmful into something that is.”

  11 TransUnion, 141 S.Ct. at 2204-2205 (citing Spokeo, 578 U.S. at 341, 136 S.Ct.

  12 1540).

  13         The Court applied these principles to a consumer class action case where
  14 plaintiffs alleged a violation of the Fair Credit Reporting Act against TransUnion, a

  15 credit reporting agency that misleadingly identified plaintiffs as a “potential match”

  16 to a name on a list maintained by the United States Treasury Department’s Office of

  17 Foreign Assets Control (“OFAC”) of terrorists, drug traffickers or other serious

  18 criminals. TransUnion, 141 S.Ct. at 2200-2202. The Court held that a portion of

  19 the plaintiffs’ class did not have Article III standing to assert their claims. Id. at

  20 2212-2213. Congress had enacted a statute authorizing the plaintiffs to sue when a

  21 credit reporting agency negligently created inaccurate credit files, and TransUnion

  22 concededly violated the terms of that statute. Id. at 2208-2213. Because the

  23 misleading credit reports of 6,332 class members, however, were not disclosed to

  24 third parties, the Court found that these class members did not allege a concrete

  25 injury. Id. These class members only had a risk of future harm that their misleading

  26 reports might be disseminated, and exposure to the risk of future harm is not a

  27 concrete harm. Id. at 2211.

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   1        The Court noted that while “a person exposed to a risk of future harm may
   2 pursue forward-looking, injunctive relief to prevent the harm from occurring,”

   3 “allegations of possible future injury” or an “objectively reasonable likelihood” of

   4 future injury are insufficient to confer standing for injunctive relief. TransUnion,

   5 141 S.Ct. at 2210 (citing Clapper v. Amnesty Int’l, 568 U.S. 398, 414, n. 5, 133

   6 S.Ct. 1138 (2013) [“a threatened injury must be certainly impending to constitute

   7 injury in fact]). Here the 6,332 class members failed to demonstrate a sufficient

   8 likelihood that their misleading credit reports would be disseminated to third parties.

   9 Id. at 2212.

  10        In contrast, in the case of the other 1,853 class members, the defendant credit
  11 reporting agency disseminated the misleading credit reports to third party creditors.

  12 TransUnion, 141 S.Ct. at 2202. The Court found that these class members had

  13 suffered concrete “reputational harm” through the dissemination of misleading

  14 information akin to the harm associated with the common law tort of defamation.

  15 Id. at 2208. TransUnion argued that the alerts on the disseminated credit reports

  16 were only misleading and not literally false since they identified consumers as a

  17 “potential match” to an individual. Id. at 2209. The Court found that although not

  18 an exact match to the harm suffered from a false, defamatory statement, labeling an

  19 individual as a “potential terrorist” bore a “sufficiently close relationship” to the

  20 defamatory harm of being labeled a “terrorist” to suffice as a concrete injury. Id.

  21 B.     Question 1: This Action Is Not the Type of Case that History and
  22        Tradition Show Article III Empowers Federal Courts to Consider as
  23        Required by TransUnion
  24        The Individual Plaintiffs allege two types of harm in this action: (1) fear of
  25 purchasing from a supply chain that uses antibiotics; and (2) overpayment for beef

  26 products purchased from Whole Foods Market stores and marketed as raised

  27 without the use of antibiotics. See ECF No. 35, ¶7. Organizational plaintiff Farm

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   1 Forward separately alleges that it was harmed because it diverted resources to

   2 investigate the alleged sale of beef products from cattle that were raised with

   3 antibiotics at Whole Foods Market and educate the public about Defendants’ alleged

   4 misstatements. Id., ¶¶80, 88 and 90.

   5        Under TransUnion, the Individual Plaintiffs’ allegations of a risk of injury
   6 because they may potentially purchase beef from a supply chain where the cattle

   7 might have been raised with antibiotics fails to qualify as a concrete harm sufficient

   8 to establish standing under Article III. The Individual Plaintiffs also failed to plead

   9 sufficient facts to show monetary harm to support their “overpayment” theory of

  10 monetary injury. Likewise, Farm Forward failed to establish Article III standing

  11 under TransUnion because its purported diversion of resources is not a concrete

  12 harm traditionally recognized as providing a basis for Article III standing.

  13        1.     Individual Plaintiffs’ Fear of “Purchasing from a Supply Chain
  14               Using Antibiotics” Is Not a Concrete Harm Traditionally
  15               Recognized as a Basis for Article III Standing
  16        The Individual Plaintiffs argue that they were injured when they purchased
  17 beef products from Whole Foods Market stores because they “were at risk of

  18 purchasing from a supply chain using antibiotics.” See ECF No. 48 at 9:26-27.

  19 TransUnion made clear that this type of intangible future harm is not cognizable

  20 under Article III: a risk of harm cannot qualify as a concrete harm. TransUnion,

  21 141 S. Ct. at 2211; see also Perry v. Newsom, 18 F.4th 622, 632 (9th Cir. 2021)

  22 (appellants claim that unsealing of records would result in harm to future litigants’

  23 ability to rely on judicial “promises,” and thereby injure both the judicial systems

  24 and future litigants was a “generalized grievance,” not an injury or threat of injury

  25 that “actually exists” as required under TransUnion). As detailed below, the

  26 Individual Plaintiff’s claim that the unidentified beef products they purchased were

  27 somehow “devalued” because the beef product supply chain might contain beef

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   1 products raised with antibiotics – without connecting that supply chain to the beef

   2 that Whole Foods Market sells, the beef products tested by Plaintiffs, nor the

   3 particular beef products purchased by the Individual Plaintiffs – is too attenuated

   4 and speculative to constitute a harm traditionally recognized as providing a basis for

   5 a lawsuit in American courts.

   6        The Individual Plaintiffs’ alleged harm is equally speculative as the harm
   7 alleged by the 6,332 class members in TransUnion, who claimed a risk of harm that

   8 their misleading credit report might be disseminated but no actual harm from the

   9 disclosure of their reports. The Individual Plaintiffs allege a risk or fear that they

  10 may have purchased beef products from a supply chain that uses antibiotics, but not

  11 that they actually purchased a beef product that was raised with antibiotics.

  12        Like the Individual Plaintiffs, the plaintiff in the recent case Bowen v.
  13 Energizer Holdings, Inc. attempted to establish Article III standing based on a fear

  14 that the products she purchased may have contained benzene. Bowen v. Energizer

  15 Holdings, Inc., No. 21-cv-4356-MWF, 2023 WL 1786731, at *3 (C.D. Cal. Jan. 5,

  16 2023). The Central District Court found that the plaintiff did not have standing

  17 because she failed to allege a particularized injury stemming from her purchase of

  18 certain sunscreens. The plaintiff alleged that she purchased Ultra Sport 30 and Ultra

  19 Sport 100 sunscreens, but she failed to allege that the product she purchased actually

  20 contained benzene and failed to link the third-party testing of sunscreens to the

  21 actual products she purchased: “Plaintiff’s claim is based on the hypothetical

  22 possibility that the products she purchased may have contained benzene – not that

  23 she purchased a product that demonstrably did contain benzene, such as from a

  24 batch identified by [third party testing].” Id.

  25        Likewise, here, the Individual Plaintiffs failed to allege a concrete injury, and
  26 have instead posited a hypothetical possibility that the unidentified beef products

  27 that they purchased may have come from a supply chain where some cattle were

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   1 raised with antibiotics. However, they failed to allege that the specific supplier or

   2 type of beef product purchased by the Individual Plaintiffs demonstrably came from

   3 cattle raised with antibiotics. Moreover, like the plaintiff in Bowen, the Individual

   4 Plaintiffs failed to link the testing of the beef products supply chain to the actual

   5 products they purchased. No Article III standing can exist on a theory of injury

   6 resting on a “attenuated chain of inferences necessary to find harm.” Clapper, 568

   7 U.S. at 414, n.5, 133 S.Ct. 1138.

   8        Additionally, like the 6,332 class members in TransUnion, the Individual
   9 Plaintiffs do not factually establish a risk of future harm that is “certainly

  10 impending,” rather than merely possible. The Individual Plaintiffs thus cannot

  11 establish standing for injunctive relief to prevent this possible future injury from

  12 occurring. See TransUnion, 141 S.Ct. at 2210; Clapper, 568 U.S. at 414, n.5, 133

  13 S.Ct. 1138. Nor do the Individual Plaintiffs demonstrate a “objectively reasonable

  14 likelihood” of a risk that Whole Foods Market’s supply chain uses antibiotics.

  15 TransUnion, 141 S.Ct. at 2210. As detailed in Defendant’s Reply, Plaintiffs are

  16 only able to allege that a single beef product from a Whole Foods Market store

  17 supposedly tested positive for antibiotic residue. Plaintiffs do not identify this single

  18 product nor claim that they purchased the same product or a product from the same

  19 supplier (i.e., brand). See ECF No. 50 at 3:1-24. Moreover, the testing relied upon

  20 by Plaintiffs is not specific to Whole Foods Market nor its beef supply chain. Id.

  21        The Individual Plaintiffs argue that whether the particular beef product that
  22 they purchased contained antibiotics is immaterial because the possibility that a beef

  23 product may have contained antibiotics or that any beef products sold by Whole

  24 Foods Market contained antibiotics injured their principles of not wanting to support

  25 factory farming. This purported psychological injury or mental angst, however, has

  26 no close historical or common-law analogue and therefore runs afoul of

  27 TransUnion. See Valley Forge Christian Coll. v. Ams. United for Separation of

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   1 Church & State, Inc., 454 U.S. 464, 485, 102 S.Ct. 752 (1982) (“The psychological

   2 consequence presumably produced by observation of conduct with which one

   3 disagrees” is “not injury sufficient to confer standing under Art. III”); see also Hein

   4 v. Freedom From Religion Foundation, Inc., 551 U.S. 587, 633, 127 S.Ct. 2553

   5 (2007) (Scalia J. concurring) (a taxpayer’s mental angst is merely a generalized

   6 grievance and is not an injury-in-fact); Sierra Club v. Morton, 405 U.S. 727, 738-40

   7 (1970) (organization’s long-standing and deep commitment to environmental causes

   8 was insufficient to confer standing when the group attempted to challenge a

   9 development project). Accordingly, the Individual Plaintiffs’ claim that they might

  10 be at risk of purchasing from a supply chain that uses antibiotics is not the type of

  11 case that history and tradition show Article III empowers federal courts to consider

  12 as required under TransUnion.

  13        2.     The Individual Plaintiffs Failed to Plead Sufficient Facts to Show
  14               Monetary Harm
  15        In the FAC, the Individual Plaintiffs attempt to establish Article III standing
  16 and statutory standing under the UCL, FAL and CLRA by claiming that they

  17 overpaid for beef products they purchased from Whole Foods Market stores.

  18 Monetary harm is sufficient to establish Article III standing: “[i]f a defendant has

  19 caused physical or monetary injury to the plaintiff, the plaintiff has suffered a

  20 concrete injury in fact under Article III.” Transunion, 141 S. Ct. at 2204. Here,

  21 however, Plaintiffs failed to allege sufficient facts to support their contention that

  22 they overpaid for beef products purchased from Whole Foods Market stores.

  23        In their FAC, Plaintiffs alleged that if the Individual Plaintiffs “had known
  24 that cattle used in Whole Foods Beef Products were raised with antibiotics, [they]

  25 would not have purchased the Products or would not have paid what [they] did for

  26 them.” See ECF No. 35, ¶¶7, 15, 22. The problem with the Individual Plaintiffs’

  27 theory is that they failed to allege facts showing that the beef products they

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   1 purchased were raised using antibiotics, and failed to provide any plausible basis

   2 from which the Court might infer those products were raised using antibiotics. In

   3 fact, the Plaintiffs failed to allege any basis for inferring that many or most of the

   4 beef products sold by Whole Foods Market were raised using antibiotics. As a

   5 result, Plaintiffs’ allegations are far from the cases where courts have found the

   6 price premium theory sufficient.

   7        For example, in the supplemental authority submitted by Plaintiffs, Henriquez
   8 v. ALDI, No. 22-cv-6060-JLS, 2023 WL 2559200 (C.D. Cal. Feb. 7, 2023), the

   9 plaintiffs clearly linked the tuna they purchased to methods of fishing that are not

  10 dolphin safe. The plaintiff Henriquez alleged that she paid a price premium of $0.75

  11 for tuna marketed as “dolphin safe” and that the actual can of tuna she purchased

  12 was caught using methods that are not dolphin safe. Henriquez, 2023 WL 2559200,

  13 at *1. Plaintiff Henriquez had the facts to support this claim because each tuna can

  14 included information on how and where the tuna was caught. Id. at **2-3; see

  15 Defendants’ Request for Judicial Notice in Support of Supplemental Brief, Ex. 1

  16 [Henriquez v. ALDI First Amended Complaint], ¶47. Thus, the plaintiff could

  17 affirmatively allege that the tuna she purchased was caught using purse seine fishing

  18 and longline fishing and that these methods are regarded throughout the industry as

  19 unsafe for dolphins. See Henriquez, 2023 WL 2559200, at **2-3; see also Ex. 1 to

  20 RJN at ¶¶48,53.

  21        In the present action, the Individual Plaintiffs failed to allege facts to support
  22 their contention that they overpaid for their unspecified beef products. They do not

  23 allege the “price premium” they paid (i.e. how much more did they pay for

  24 antibiotic-free beef?). They do not even identify the specific beef products they

  25 purchased nor the prices they paid for those products. See ECF No. 35, ¶¶9-22.

  26 More importantly, they failed to show how the beef products they purchased were

  27 worth less than what they paid for them. Plaintiffs do not allege that the beef

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   1 products they purchased actually contained antibiotics, nor do they allege that all or

   2 most of Whole Foods Market’s beef products contain antibiotics. Accordingly, they

   3 failed to plead sufficient facts to establish a concrete harm under a theory of

   4 overpayment and thus fail to establish Article III standing and the statutory standing

   5 required under UCL, FAL and CLRA.

   6        3.     Farm Forward’s Resource Drain Theory of Injury Is Not a
   7               Concrete Harm Traditionally Recognized as a Basis for Article III
   8               Standing
   9        In the FAC, Farm Forward attempts to establish Article III standing to pursue
  10 its FAL and UCL claims in federal court through “organizational standing.”

  11 Organizational standing asserts a “resource drain” theory of injury, which requires a

  12 plaintiff to establish two elements: (1) frustration of its organizational mission; and

  13 (2) diversion of resources. Havens, 455 U.S. at 379, 102 S.Ct. 1114; see ECF No.

  14 35, ¶¶80-94. There is no historical or common-law analogue to Farm Forward’s

  15 alleged injury based on a resource drain theory of injury, and therefore it cannot

  16 establish Article III standing under TransUnion.

  17        Farm Forward’s alleged frustration of mission is an allegation that
  18 Defendants’ actions hurt Farm Forward’s ideological agenda to end factory farming.

  19 See ECF No. 35, ¶¶2 & 23. Injury to an ideological agenda has no close relationship

  20 to any traditionally-recognized harm. There is no question that frustration of

  21 mission does not constitute a tangible injury. It does not involve lost money or

  22 property. While an intangible injury might suffice to establish standing under the

  23 UCL, private enforcement actions under the UCL may only be brought by those

  24 who have “lost money or property as a result of the unfair competition.” See,

  25 McKenzie v. Fed. Exp. Corp., 765 F.Supp.2d 1222, 1236 (C.D. Cal. 2011).

  26 Likewise, common law fraud, a tort similar to a violation of the FAL, requires an

  27 economic loss. See, Restatement (Third) of Torts, § 9 (“One who fraudulently

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   1 makes a material misrepresentation of fact…for the purpose of inducing another to

   2 act…is subject to liability for economic loss cause by the other’s justifiable reliance

   3 on the misrepresentation).

   4        Even if an intangible injury sufficed to establish standing here, however, there
   5 is no traditionally-recognized intangible harm that is equivalent to a frustration of

   6 mission. See TransUnion, 141 S.Ct. at 2204. For instance, Farm Forwards does not

   7 allege that Defendants’ misrepresentation hurt its reputation. Nor could Farm

   8 Forward adequately allege reputational harm as that harm derives from the common

   9 law tort of defamation, which requires a defamatory statement “that would subject

  10 [Farm Forward] to hatred, contempt, or ridicule.” Id. at 2208. Defendants’ alleged

  11 misrepresentation does not involve any defamatory statement leveled at Farm

  12 Forward. Indeed, the alleged misrepresentation regarding whether meat sold at

  13 Whole Foods Markets comes from cattle raised with antibiotics do not mention

  14 Farm Forward whatsoever. Thus, there is no “close relationship” between the harm

  15 of frustration of mission and the harm from a false and defamatory statement. Id. at

  16 2209. Similarly, frustration of mission bears no relationship to the “long

  17 recognized” harm stemming from the common law tort of intrusion upon seclusion.

  18 Gadelhak v. AT&T Services, Inc., 950 F.3d 458, 462 (7th Cir. 2020). That tort

  19 requires an allegation Defendant’s actions violated Farm Forward’s privacy. Id.

  20 Farm Forward makes no such allegation in the FAC.

  21        Farm Forward’s claim that the alleged misrepresentations frustrated its
  22 mission is more akin to an impermissible “generalized grievance” than a

  23 traditionally recognized harm. A purported injury is an “generalized grievance”

  24 when the interest of the party asserting it “is plainly undifferentiated and common to

  25 all members of the public.” Lance v. Coffman, 549 U.S. 437, 439, 112 S.Ct. 2130

  26 (2007). “The Supreme Court has long admonished that a party ‘raising only a

  27 generally available grievance…does not state Article III case or controversy.’”

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   1 Perry v. Newsom, 18 F.4th 622, 632 (9th Cir. 2021) (citing Lance, 549 U.S. at 439,

   2 112 S.Ct. 2130); see also, Spokeo, 568 U.S. at 341, 136 S.Ct. 1540 (finding that an

   3 injury in fact must also be particularized, that is, affecting the plaintiff “in a personal

   4 and individual way”).

   5         Farm Forward does not allege that it personally purchased any meat products
   6 from a Whole Foods Market nor that it told its members to purchase the meat

   7 products based on Defendants’ representations. Instead, through the FAC, Farm

   8 Forward seeks to enforce Defendants’ compliance with state law to protect the

   9 public from the harm of buying meat that comes from cattle raised with antibiotics

  10 (i.e., meat coming from cattle that is factory farmed) despite representations to the

  11 contrary. Farm Forward’s concern that Defendants violated the FAL and UCL is a

  12 generalized grievance, not a concrete and particularized personal injury as required

  13 for Article III standing.

  14         The second element of organizational standing – diversion of resources –
  15 cannot alone establish organizational standing. Accordingly, the fact that the injury

  16 from frustration of mission has no common law equivalent is fatal to Farm

  17 Forward’s attempt to establish Article III standing. Even if Farm Forward could

  18 solely rely on its purported diversion of resources to establish standing (which it

  19 cannot), however, that also has no common law analogue. Diversion of resources

  20 does not bear a close relationship to monetary harm. The fact that Farm Forward

  21 does not seek monetary damages, even in a nominal amount, or restitution in the

  22 FAC demonstrates that diverting resources did not result in some economic loss to

  23 Farm Forward. See ECF No. 35 at 47:4-18.

  24         Moreover, as alleged in Defendants’ moving papers, the fact that the only
  25 resources Farm Forward allegedly diverted fell exactly in line with its ongoing work

  26 to stop factory farming undermines any sense of injury, and certainly runs afoul of

  27 the Supreme Court’s requirement that an injury be concrete. Farm Forward

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   1 voluntarily redirected time and energy from engaging with Defendants and GAP to

   2 help develop the standards and improve the conditions under which cattle were

   3 raised to purportedly exposing Defendants’ failure to comply with Farm Forward’s

   4 standards. Farm Forward’s voluntary redirection of resources in furtherance of their

   5 mission to end factory farming “represented adaptive and savvy organizational

   6 management,” not monetary harm. See Fair Housing Council of San Fernando

   7 Valley v. Roommate, LLC, 666 F.3d 1216, 1227 (9th Cir. 2012) (Ikuta dissenting).

   8        The authority cited by Plaintiffs in their Opposition Brief fails to show that an
   9 injury based on a resource drain theory suffices to establish Article III standing

  10 under TransUnion. Fair Housing Council v. Roomate.com LLC, 66 F.3d 1216 (9th

  11 Cir. 2012), predates TransUnion by 10 years and failed to consider the central issue

  12 identified in TransUnion regarding whether the plaintiff asserted a traditionally

  13 recognized harm. Sabra v. Maricopa County Community College District, 44 F.4th

  14 867 (9th Cir. 2022), also did not analyze that issue. Additionally, in contrast to

  15 Farm Forward’s claims, in Sabra, the plaintiff alleged that the defendant violated the

  16 Establishment and Free Exercise Clauses of the U.S. Constitution, a traditional harm

  17 specifically identified in TransUnion. Sabra, 44 F.4th at 877.

  18        Because Farm Forward failed to allege a concrete harm as defined by
  19 TransUnion, this Court should find that it has not established Article III standing.

  20 C.     Question 2: Following TransUnion, “Organizational Standing” Is No
  21        Longer Constitutionally Viable under Article III
  22        The Court’s holding in TransUnion undermines the constitutional viability of
  23 the doctrine of “organizational standing” based on a resource drain theory of injury.

  24 In Havens, the Supreme Court recognized the concept of “organizational standing”

  25 under Article III. Havens, 455 U.S. at 379. Thus, a closer look at the Court’s

  26 holding and reasoning in Havens is warranted in analyzing the viability of

  27 organizational standing post TransUnion.

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   1        In Havens, a nonprofit community organization, Housing Opportunities Made
   2 Equal (HOME), and individual plaintiffs sued a realty company for racial steering in

   3 violation of the Fair Housing Act. See Havens, 455 U.S. at 366-367. HOME

   4 claimed that it was injured because defendants’ practices frustrated its efforts to

   5 assist equal access to housing through counseling and other referral services, and

   6 because it devoted significant resources to identifying and counteracting the

   7 defendant’s practices. Id. The Court held that HOME had Article III standing,

   8 reasoning that it had alleged a “concrete and demonstrable injury to [its] activities –

   9 with the consequent drain on [its] resources.” Id. at 379. It further reasoned that the

  10 alleged resource drain constituted “far more than simply a setback to the

  11 organization’s abstract social interests.” Id. Courts have interpreted Havens as

  12 allowing organizations to satisfy the Article III requirement of an injury in fact by

  13 demonstrating: (1) that the defendant’s actions frustrated its organizational mission;

  14 and (2) diversion of its resources to combat that frustration beyond going about

  15 business as usual. See, e.g., Smith v. Pac. Props and Dev. Corp., 358 F.3d 1097,

  16 1101 (9th Cir. 2004).

  17        TransUnion undercuts the holding in Havens in several respects. First, as set
  18 forth above, frustration of an organizational mission is not a harm traditionally

  19 recognized as providing a basis for a lawsuit in federal courts nor is a voluntary

  20 diversion of resources. TransUnion, 141 S.Ct. at 2204.

  21        The resource drain theory of injury also runs afoul of the Court’s reasoning in
  22 TransUnion that “under Article III, a federal court may resolve only ‘a real

  23 controversy with real impact on real persons.’” TransUnion, 141 S.Ct. 2203 (citing

  24 American Legion v. American Humanist Assn., 588 U.S. ___, 139 S.Ct. 2067, 2103

  25 (2019)). As an initial matter, Farm Forward is not a “real person” nor an individual.

  26 Id. at 2203 (“Requiring a plaintiff to demonstrate a concrete and particularized

  27 injury caused by the defendant and redressable by the court ensures that federal

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   1 courts decide only ‘the rights of individuals’ [citations omitted]”). Farm Forward

   2 also does not allege that Defendants’ purported misrepresentations directly harmed

   3 it resulting in a “real controversy” or “real impact.” Farm Forward does not allege

   4 that it or its members purchased or consumed beef products from cattle raised with

   5 antibiotics. Thus, Farm Forward is not seeking to remedy or obtain redress for any

   6 direct harm to itself. Instead, it seeks to enforce Defendants’ compliance with state

   7 law to protect the public from harm. To do that, Farm Forward manufactures a

   8 direct harm: it purportedly has shifted its resources to investigate and educate the

   9 public about the alleged misrepresentations. TransUnion reflects the Supreme

  10 Court’s desire to constrain just this type of “open-ended invitation for federal courts

  11 to loosen Article III based on contemporary, evolving beliefs about the kinds of suits

  12 that should be heard in federal courts.” TransUnion, 141 S.Ct. at 2204. Permitting

  13 Farm Forward to establish Article III standing through a “resource drain theory,”

  14 rather than a concrete harm as defined by TransUnion, morphs federal courts into

  15 “vehicle[s] for the vindication of the value interests of concerned bystanders.”

  16 Valley Forge Christian Coll., 454 U.S. at 472, 102 S.Ct. 2405; see also Blunt v.

  17 Lower Merion Sch. Dist., 767 F.3d 247, 288-89 (3rd Cir. 2014) (noting “the

  18 prudential concerns behind the standing doctrine that courts not become vehicles for

  19 the advancement of ideological and academic agendas”). This result is contrary to

  20 the Courts instruction in TransUnion that Article III standing should be limited to

  21 “concrete and particularized injur[ies] caused by the defendant.” TransUnion, 141

  22 S.Ct. at 2203.

  23        Additionally, the Supreme Court’s departure from the reasoning in Havens is
  24 notable from the Court’s earlier statement in Havens that “[t]he actual or threatened

  25 injury required by Art. III may exist solely by virtue of ‘statutes creating legal

  26 rights, the invasion of which creates standing…’” Havens, 455 U.S. at 364, 102

  27 S.Ct. 1114. TransUnion soundly rejects this proposition as did the Supreme Court

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   1 in Spokeo: “[t]his Court has rejected the proposition that ‘a plaintiff automatically

   2 satisfies the injury-in-fact requirement whenever a statute grants a person a statutory

   3 right and purports to vindicate that right.’” TransUnion, 141 S.Ct. at 2205 (citing

   4 Spokeo, 568 U.S. at 341, 136 S.Ct. 1540). Contrary to the reasoning in Havens, the

   5 law is now clear that Article III standing requires a concrete injury even in the

   6 context of a statutory violation. Farm Forward fails to allege such an injury in the

   7 FAC.

   8        While the definition of “organizational standing” in Havens conflicts with the
   9 definition of a concrete injury in TransUnion that conflict does not foreclose the

  10 ability of organizations to establish Article III standing all together. Rather, it bars

  11 the doctrine of “organizational standing” as defined by Havens (i.e., a resource drain

  12 theory of injury). An organization can still seek redress in federal courts when it

  13 suffers an injury akin to a traditionally recognized harm, such as monetary damages.

  14 For instance, a business could establish Article III standing for a false advertising

  15 claim by alleging that a competitor’s false advertising caused a decrease in its

  16 market share (a monetary loss), which necessarily would include in the prayer a

  17 claim for compensatory damages. There are endless examples of how an

  18 organization can allege a concrete injury that has a close relationship to a harm

  19 traditionally recognized as providing a basis for a lawsuit in American courts. Farm

  20 Forward simply makes no such allegations in the FAC. Because Farm Forward

  21 relies entirely on a “resource drain” theory of injury that runs counter to the

  22 definition of a concrete injury in TransUnion, it has not establish standing under

  23 Article III.

  24                                  III.   CONCLUSION
  25        As the Supreme Court stated in TransUnion, “No concrete harm, no
  26 standing.” TransUnion, 141 S.Ct. at 2214. Neither the Individual Plaintiffs nor

  27 Farm Forward have adequately alleged that they suffered a concrete harm because

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   1 of Defendants’ alleged misrepresentations. Thus, Plaintiffs do not have Article III

   2 standing and the FAC should be dismissed.

   3 Dated: March 27, 2023

   4                                        BLAXTER | BLACKMAN LLP
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